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                          IN TH E UN ITED STA TES D ISTRICT COU RT
                         FOR TH E SOU TH ERN D ISTR ICT O F FLOR ID A
                                        M IA M ID IV ISION
                        CA SE N O .18-22880-M A RTlN EZ-O TA ZO -M Y ES


    SH EHA N W IJESJN H A ,individually and on behalf
    ofa11othe
            'rssim ilarly situated,
       Plaintiff,


    V S.


    SU SAN B .AN TH ON Y LIST,IN C.,
      D efendant.


     ORDER GRANTING FINAL APPROVAL TO CLASS ACTION SETTLEM EXT AND
                                         FIN AL JUD G M EN T

           On M arch 19,2019,the Court granted prelim inary approvalto the proposed clajs action

   settlementsetfol'th in the SettlementAgreementand Release (the ClsettlementAgreemenf')
   between PlaintiffShehan W ijesinha (ttplaintiff'),on behalfofhimselfand a11membersofthe
   Settlement Class,l and N
                          Defendant Susan B. Anthony List, Inc. (tISBA'' or lsDefendant'')
                            ,




   (collectively,the ssparties''l.The,Coul'talso provisionally certified the Settlement Class for
   settlem ent pup oses, approved the procedure for giving Class N otice to the m em bers of the

   Setllem ent Class,and set a FinalA pprovalHearing to take place on Septem ber4,2019 at2:00

   P.m .

           O n Septem ber 4,2019 the Coul'theld a duly noticed FinalA pprovalH earing to consider:

   (1) whetherthe terms and conditions of the SettlementAgreementare fair,reasonable,and
   adequate;(2)whetherajudgmentshould beentered dismissingthePlaintiff'sComplainton the


   lU nless otherw ise defined, capitalized term s herein have the definitions found in the Settlem ent
   A greem ent.
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   merits and with prejudice in favor ofDefendantand againsta11persons or entities who m'
                                                                                        e
   Setllem entClass M em bers herein who have notrequested exclusion from the Settlem entClass;

   and(3)whetherandinwhatamounttoawardcounselfortheSettlementClassasAttotneys'Fees
   and Expensesand whetherand in w hatam ountto aw ard a Service Aw ard to Plaintiff.A ccordingly,

   itishereby ORDERED that:

           JUR ISD ICTIO N O F T H E C O U RT

                  The Coul'thas personaljurisdiction over theparties and the Settlement Class
   Members,venueisproper,andtheCourthassubjectlnatterjurisdictiontoapprovetheAgreement,
   includinga11Exhibitsthereto,andtoenterthisFinalApprovalOrder,W ithoutin any wayaffecting

   thefinality ofthisFinalApprovalOrder,thisCourthereby retainsjurisdiction asto a11matters
   relating to adm inistration, consum m ation, enforcem ent, and intel-
                                                                       pretation of the Settlem ent

   A greem entand ofthis FinalApprovalO rder,and for any othernecessary purpose.

                  TheSettlem entAgreem entwasnegotiated atarm 'slength by experienced counsel

   whowerefullyinformedofthefactsandcirculnstancesofthislitigation (theûûAction'')andofthe
   strengths and w ealcnesses of their respective positions.The Settlem entA greem ent w as reached

   after the Parties had engaged in m ediation and extensive settlem ent discussions and after the

   exchange of infonuation,including inform ation aboutthe size and scope ofthe Settlem entClass.

   CounselforthePartieswerethereforewellpositionedto evaluateJhebenefitsoftheSettlement
   A greem ent,tal
                 dng into accountthe expense,risk,and uncertainty ofprotracted litigation.

                  The Coul4 finds thatPlaintiff has A rticle 11I standing to bring his claim underthe

   TCPA .In orderto establish Al-ticle11Istanding to bring a suit,aplaintiffhastheburden to show

   thathe(1)suffered an injuryin fact,(2)thatisfairly traceabletothechalldnged conductofthe
   defendant,and (3)thatislikely to beredressed by afavorablejudicialdecision.Additionally,
   ttwhere a statute confers new legalrights on a person,thatperson w illhave A l-ticle 1I1 standing to

                                                   2
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   sue where the factsestablish a concrete,particularized,and personalinjury to thatperson asa
   result ofthe violation of the new ly created legalrights.'''Eisenband v.Schum acher Auto.,Inc.,

   No.18-cv-80911,2018U.S.Dist.LEXIS 181272,at*3(S.D.Fla.Oct.22,2018).And,aplaintiff
   alleging aviolation undertheTCPA need notallegeany additionalharm beyondtheoneCongress

   hasidentised.SeeSchaevitzp.Braman Hyundai,Inc.,No.1:17-cv-23890-KM M ,2019 U.S.Dist,

   LEXIS 48906,at*17(S.D.Fla.M ar.25,2019).Here,theinjuryalleged byPlaintiffisconcrete,
   particularized,traceable to the challenged conductofthe D efendants and w illlikely be redressed

   byfavorablejudicialdecision.Plaintiffallegesthathereceivedaviolativetextmessagecallunder
   the TCPA from Defendanton hiscellphonewithouthisconsent,and,thus,hewasaffected in a

   personal and individual way.See M ohalned v. 0/.
                                                  /-fease Only, Inc., No. 15-23352-C1v-
   COOKE/TORRES,2017U.S.Dist.LEXIS41023,at*3(S.D.Fla.M ar.22,2017).Plaintiffful-ther
   alleges thatthe violative callcaused him actualharm ,including invasion ofprivacy,

                  The Courtfinds thatthe pl-erequisites for a class action under Fed.R .Civ.P.23

   have been satisfied forsettlementpurposesfoteach SettlementClassM emberin that:(a)the
   numberof SettlementClass M embers is so numerousthatjoinderof a11membersthereofis
   impracticable;(b)there are questions of1aw and factcommon to the SettlementClass;(c)the
   claims ofPlaintiffare typicalofthe claims ofthe SettlementClass he seeksto represent;(d)
   Plaintiffhave and willcontinue to fairly and adequately representthe interestsofthe Settleluent

   Classforpurposesofentering into theSettlementAgreement;(e)thequestionsof1aw and fact
   com m on to the Settlem ent Class M em bers predom inate over any questions affecting any

   individualSetllementClass Member;(9 the SettlementClass is)ascertainable;and (g)a class
   action is superiorto the otheravailable methods forthe fairand effîcientadjudication ofthe
   controversy.



                                                 3
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   11.    CERTIFICATION OF SETTLEM ENT CLASS
                  Pursuant to Fed.R.Civ.P.23,this Courthereby finally cel-tifies the Settlem ent

   Class,asidentified intheSettlementAgreement:A11individualswithin theUnited States(i)who
   weresentatextmessage(ii)onhisorhercellulartelephone(iii)byM udshareorasimilarservice
   on behalfofSusan B.Anthony List,lnc.(iv)between July 9,2018,through the date ofthe
   settlem ent agreem ent.It is the parties' intention that the class definition shall cover the claim s

   alleged in the amended complaintand shallbeconsistentwith theclassdefinition in theam ended

   complaint.Excluded from the SettlementClassare:(i)theDistrictJudgeand MagistrateJudge
   presidingoverthiscase,thejudgesoftheU.S.CourtofAppealsforthe Eleventh Circuit,their
   spouses,andpersonswithin thethird degreeofrelationship toanyofthem;(2)individualswho
   are orwere during the ClassPeriod agents,directors,employees,officers,orservantsofSBA or

   ofany affiliateorparentofSBA;(3)Plaintiff'scounselandtheiremployees,and(4)a11persons
   who file a tim ely and properrequestto be excluded from the Settlem entClass in accordance w ith

   Section 111.D ofthe Settlem entA greem ent.

   111. APPOINTM ENT OF CLASS REPRESMNTATIVES AND CLASS COUNSEL
          6.     The Courtfinally appoints ScottA .Edelsberg ofEdelsberg Law ,P.A .;A ndrew J.
                                       I                                                  ,

   Sham isofSham isand Gentile,P.A .;M anuelS.H iraldo ofHiraldo P.A ;apd Ignacio J.H iraldo of

   1JH Law.as Class Counselforthe Settlem entClass.

                        Coul't finally designates Plaintiff Shehan W ijesinha as.the Class
   R epresentative.

   IV .   N O TICE A ND C LAIM S PR O CESS

                 The Coul'tm akesthe follow ing findingson notice to the Settlem entClass:

                         The Courtfinds thatthe distribution ofthe ClassN otice,as provided forin

   the SettlementAgreement,(i)constituted thebestpracticablenoticeunderthecircumstancesto
                                                   4
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   SettlementClass M embers,(ii) constituted notice that wasreasonably calculated,under the
   circum stances,to apprise Settlem entClassM em bers of,am ong otherthings,the pendency ofthe

   Action,the nature and terms ofthe proposed Settlement,theirrighttt? objectorto exclude
   them selvesfrom theproposed Settlem ent,andtheirrighttoappearattheFinalApprovalHearing,

   (iii)wasreasonableand constituted due,adequate,andsufficientnoticetoal1personsentitled to
   beprovidedwith notice,and(iv)compliedfullywiththerequirementsofFed.R.Civ.P.23,the
   United StatesConstitution,thLRulesofthisCourt,and any otherapplicable law .

                 (b)     The Courtfinds thatthe ClassNotice and lnethodology setfol'
                                                                                   th in the
   Settlement Agreement,the Preliminary ApprovalOrdçr,and this FinalApprovalOrder (i)
   constitutethem osteffectiveandpracticablenoticeoftheFinalApprovalOrder,thereliefavailable

   to Settlem entClass M em bers pursuantto the FinalApprovalOrder,and applicable tim e periods;

   (ii)constitute due,adequate,and sufficientnotice fora11otherpulmosesto a11SettlementClass
   M embers;and (iii)comply fully with the l'equirementsofFed.R.Civ.P.23,theUnited States
   Constitution,the Rulesofthis Coul'
                                    t,and any other applicable law s.

          FINA L A PPRO VA L O F TH E C LA SS A CTIO N SETTLEM ENT

          9.     The Settlem entA greem entisfinally approved in a11respectsasfair,reasonable and

   adequate.The tenns and provisions ofthe Settlem ent A greelnent,including a11Exhibits thereto,

   have been entered into in good faith and are hereby fully and finally approved as fair?reasonable,
                                                                              N

   and adequate as to? and in the best interests of, each of the Pal-ties and the Settlem ent Class

   M em bers.

   VI.    A D M IN IST M TIO N O F TH E SET TLEM EN T

          10.    The Parties are hereby directed to im plem entthe Settlem entA greem entaccording

  to its term s and provisions.The A dm inistl-atoris directed to provide Claim Settlem entPaym ents

  to those Settlem entClassM em bersw ho subm itted valid,tim ely,and com plete Claim s.
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                 The Courthereby épproves Class Counsel's request for At4orneyb' Fees and

   Expensesand awardsClassCounsel$225,000 asreasonableattorneys'feesand costs,inclusiveof

   the award ofreasonablecostsincurred in thisAction,which consistsof22.1% ofthe Settlement

   Fund,inthemannerspecifiedin theSettlementAgreelnent.TheCourtfindsthattherequested fees

   are reasonable underthe percentage ofthe fund forthe reasons setforth herein.The award of

   attorneys'feesand costs to Class Counselshallbe paid from the Settlem entFund w ithin the tim e

   period and mannersetfol'th in the SettlementAgrrem ent.

          12.    The Court hereby aw ardd Class Counsel for their tim e incurred and expenses

   advanced.TheCourthasconcluded that:(a)'Class Counselachieved.a favorable resultforthe
   Class by obtaining D efendant'sagreem entto m ake significantfunds available to Settlem entC lass

   M embers,subjecttosubmission ofvalid claimsbyeligibleSettlementClassMembers;(b)Class
   Counsel devoted substantial effort to pre- and post-filing investigation, legal analysis, and

   litigation;(c)ClassCounselprosecutedthe SettlementClass'sclaimson acontingentfeebasis,
   investing significant tim e and accum ulating costs w ith no guarantee that they would receive

   compensation fortheir services orrecovertheir expenses'
                                                         ,(d) Class Counselemployed their
   knowledgeofandexperiencewiticlassactionlitigationinachievingavaluablesettlementforthe
   Settlem entClass,in spite ofD efendant's possible legaldefenses and its experienced and capable
                   /
   counsel;(3)Class Counselhave standard contingentfee agreements with Plaintiff,who has
   review ed the Settlem entA greem entand been inform ed of Class Counsel's fee requestand have

   approved'
           ,and (t)theNotice informed SettlementClassM embersofthe Amountahd nature of
   Class Counsel's fee and cost request under the Settlelnent A greelnent,Class Counselfiled and

   posted theirPetition in tim e forSettlem entClassM em bersto m akea lneaningfuldecision w hether

   toobjecttotheClassCounsel'sfeerequest,andnoSettlementClassMembersobjected.
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                'In addition,the Coul'thasapplied the factors articulated in Camden 1Condom iniuln

   Ass'
      n,Inc.v.Dunkle,946 F.2d 768(11th Cir.1991),to confirm thel-easonablenessoffeesand
   costs requested.The court finds and concludes thatthe follow ing applicable factors support the

   requested award ofattorneys'feesand costs'
                                            .

                     TilneandLaborRequire4 Preclusionh-om OtherElnploymentandTimeLimits
                     Imposed

          The work required of Class Counsel w as extensive. These effol'
                                                                        ts required work
                                                l
   l'epresenting Plaintiffand the class w ithoutcom pensation.The substantialw ork necessitated by

   thiscase divel-ted ClassCounselfrom puttingtimeandresourcesintootherm atters.

                     CaseInvolvedD@ cultIssues;RiskofNonpaymentandNotPrevailing on the
                     Claim s Was H igh
                                                          N
          This case involved difficult substantive issues which presented a significant risk of

   nonpaym ent,including uncertainty on classcertitication,contested issuesaboutwhethertheTCPA

   isunconstitutionalon itsface and asapplied to thespeech atissue,and whetherthe joftware and

   equipm entused to send the textm essage constituted an A utom atic Telephone Dialing System in a

   setling of developing case law and FCC rulings and recovery being depe'ndent on a successful

   outcom e,w hich wasuncertain.

                     ClassCounselAchievedanExcellentResultfortheSettlelnentClass
          Class Counselachieved excellentm onetary results for Settlelnent Class M em bers.H ere,

   theSettlementrequiredDefendanttom akeavailableupto $1,017,430.00fortheSettlementClass
   and willproduce a perperson cash benefitthatis w ellw ithin the range of recoveries established

   by other courtapproved TCPA class action settlem ents..See,e.g.,Spilllnan v.RPM P izza,LLC,

   No.10-cv-00349,D.E.241(M .D.La.May23,2013).




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                      The Requested Fee is Consistent w ith Custolnary Ftes Aw arded in Silnilar
                      Cases

          M any sim ilarTCPA class settlem ents provide for one third of the fund.See Guarism a v.

   ADCAHB M edicalCoverages,Inc.,13-cv-21016,D.E.95 (S.D..
                                                         FIa.Jun'
                                                                e24,2015)(awarding
   one-thirdpluscosts).Common-fundattorneyfeeawardsofone-thirdare(tconsistentwiththetrend
   in thisCircuit.''Reyesv.AT&T Mobility Servs.,LLC,No.10-20837-CIV,EECF No.196j,at6.
   Here,ClassCounselisawarded lessthanintheseothercases               2).1% .Thisoutcomewasmade
   possibleby ClassCounsel'sextensiveexperiencein litigating classactionsofsimilarsize,scope,

   and bomplexity to the instantaction. Class Counselregularly engage in complex litigation
   involving consum erissues,a1lhavebeen class counselin num erousconsum erclass action cases.

                      ThisCasekequiredaHighLevelofskill
          Class Counselachieved a settlementthrtconfers substantialmonetary benefits to the
   Settlem ent.classdespitethe hard-foughtlitigation againsta sophisticated defendantrepresented by top-

   tiercounsel.SeeInreSunbealnSec.Litig,176F.Supp,2d 1323,1334(S.D.Fla.20O1).
                  The Courtawards a Service A w ard in the am ount of $2,500 to Plaintiff Shehan

   W ijesirlhapayablepursuanttothetermsoftheSettlementAgreement.
   V II. RELEA SE O F CLA IM S

                  Upon entry of this FinalA pproval Order,a11 m em bers of the Class w ho did not

   validly and tim ely subm itR equestsfor Exclusion in the m arm erprovided in the A greem entshall,

   by operation ofthis FinalApprovalOrder,have fully,finally and forever released,relinquished

   and discharged SBA and the Released Partiesfrom the Released Claims as setVrth in the
   Settiem entA greem ent.

                 Ful-therm ore, a11 m em bers of the Class who did not validly and tim ely subm it

   Requests forExclusion in the m annerprovided in the A greem entare hereby perm anently barred


                                                    8
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   andenjoinedfrom filing,commencing,prosecuting,maintaining,intelweningin,participatingin,
   conducting orcontinuing,eitherdirectly orin any othercapacity,either individually oras a class,

   any action orproceeding in any court,agency,arbitration,tribunalorJ'urisdiction,asserting any

   claim s released pursuantto the Settlem entA greem ent,or seeking an aw ard of fees and costs of

   any kind ornature w hatsoever and pursuantto any authority ortheory whatsoever,relating to or

   arising from the A ction or thatcould have been broughtin the A ction and/or as a result ofor in

   addition to those provided by the Settlem entA greem ent.

                  Theterm softhe Settlem entA greem entand ofthisFinalA pprovalOrder,including

   allExhibitsthereto,shallbeforeverbindingon,andshallhaveresjudicataandpreclusiveeffect
   in,al1pending and future law suitsm aintained by Plaintiffand al1otherSettlem entClassM em bers,

   as wellastheirheirs,executorsand adm inistl-ators,successors,and assigns.

          18.    The Releases,w hich are setforth in Section V ofthe Settlem ent A greem ent and

   which are also setfôrth below,are expressly incorporated herein in a11respectsand are effective

   asofthedateofthisFinalApprovalOrder;andtheReleasedPal-ties(asthatterm isdefinedbelow
   and in the SettlementAgreement)are foreverreleased,relinquished,and disclnarged by the
   Releasing Parties (asthatterm is detined below and in the SettlementAgreement)from all '
   ReleasedClaims(asthatterm isdefinedbelow andintheSet4lementAgreement).
                 (a)     The Settlement Agreeluent and Releases do not affect the rights of
   Settlem ent Class M em bers w ho tim ely gnd properly subm it a R equest for Exclusion from the

   SettleluentinaccordancewiththerequirementsinSection1Il(D)oftheSettlementAgreement.
                         The adlninistration and consunnm ation ofthe Settlem entas em bodied in the

   SettlementAgreementshallbeundertheauthorityoftheCoul'
                                                       t.TheCourtshalll'
                                                                       etainjurisdiction
   to protect, preserve, and im plem ent the Settlem ent A greem ent, including, but not lim ited to,

   enforcementoftheReleases.TheCoul'
                                   texpresslyretainsjurisdictionin ordertoentersuchf'ul4her
                                                  9
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   orders as m ay be necessary or appropriate in adm inistering and implementing the term s and

   provisionsoftheSettlem entAgreem ent.

                  (c)    The SettlementAgreementshallbetheexclusiveremedy forany and al1
   SettlementClassM embers,exceptthosewhohaveproperlyreqtlestedexclusion (optedout),and
   theReleasedPal-tiesshallnotbesubjecttoliability orexpenseforany oftheReleasedClaimsto
   anySettlementClassM emberts).
                         The Releases shall not preclude any action to enforce the term s of the

   settlementAgreemeni,including pal-ticipation in any ofthe processes detailed therein.The
   Releases setforth herein and in the Settlem entA greem entare notintended to include the release '

   ofany rights or duties ofthe Settling Pal4ies arising outof the Settlem entA greem ent,including

   the express warranties and covenants contained therein.

          19.    Plaintiffand a11Settlem entClassM em bers who did nottim ely excludethem selves

   from theSettlementClassare,from thisday forward,hereby pennanently barred and enjoined
   from directly orindirectly:(i)asserting any Released Claimsin any action orproceeding;(ii)
   filing,commencing,prosecuting,interveningin,continuingorinanywayparticipatingin(asclass
   membersorotherwise),any lawsuitbasedon orrelatingto anytheReleasedClaimsorthefacts
   and circumstances relating thereto'
                                     ,or (iii) organizing any Settlement Class M embers into a
   separate classforpul-poses ofpursuing as a purported classaction any lawsuit(including by
   seeking to am end a pending com plaintto include classallegations,orseeking classcertification in

   apendingaction)basedonorrelatingtoanyoftheReleasedClaims.
   V l1l. N O AD M ISSIO N O F L IA BILITY

          20.    N eitherthe Settlem entA greem ent,nor'any of its term s and provisions,nor any of

   the negotiationsorproceedings connected w ith it,norany ofthe docum entsorstatem entsreferred

   to therein,northisFinalA pprovalOrder,norany ofitsterm sand provisions,shallbe:
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                         offered by any person or received against SBA or any Released Party as

   evidence of, or construed as or deem ed to be evidence of, any presum ption, concession, or

   adm issionby SBA ofthetruthofthefactsalleged by any person,thevalidity ofany claim thathas

   beenorcouldhavebeenassertedintheActionorinanyotherlitigationorjtldicialoradministrative
   proceeding,the deficiency ofa'
                                ny defensethathasbeen orcould have been asserted in theAction

   orin any litigation,orofany liability,negligence,fault,or w rongdoing by SBA or any R eleased

   Party;

                         offered by any person orreceived againstSBA or any Released Party as

   evidenceofapresum ption,concession,oradm ission ofany faultorviolation ofany 1aw by SBA

   orany Released Party;or

                         offered by any person or received against SBA or any Released Party as

   evidenceofapresumption,concession,oradm ission with respecttoany liability,negligence,fault,

   orw rongdoing in any civil,crim inal,oradm inistrative action orproceeding.

   1X .     OTH ER PR O VISIO N S

                  ThisFinalApprovalOrderandtheSettlementAgreement(includingtheExhibits
   thereto)may befiled in any action againstorby any Released Party (asthatterm isdefined
   hereinandtheSettlementAgreement)to supportadefensec;fresjudicata,collateialestoppel,
   releàse,good faith settlement,judgmentbarorreduction,oranytheory ofclaim preclusionor
   issue preclusion or sim ilar defense or counterclaim .

                  W ithotlt ful4her order of the Court,the Settling Parties m ay agree to reasonably

   necessary extensions oftim e to can-y outany ofthe provisions ofthe Settlem entA greem ent.

            23.   In the
                       'eventthatthe Effective D ate doesnotoccur, this FinalA pprovalOrder shall

   autom atically berendered nulland void and shallbe vacated and,in such event,a11orders entered

   and releases delivered in connection herew ith shallbenulland void.In theeventthattheEffective
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    Datedoesnotoccur,the Settlem entAgreem entshallbecom enulland void and be ofno further

   force and effect,neitherthe Settlem entA greem entnorthe Coul-t's Orders,including this Order,

    shallbe used or referred to for any purpose whatsoever,and the Parties shall retain,without

   prejudice,any and a11objections,.arguments,and defenseswith respectto class certification,
   including the rightto argue thatno class should be certified for any purpose,and wit
                                                                                      'h respectto

   any claim sorallegationsin thisA ction.

                 ThisAction,including allindividualclaim sand classclaim spresented herein,is

   herebydismissedonthemeritsandwithprejudiceagainstPlaintiffanda11othf
                                                                      erSettlementClass
   M em bers,withoutfees or coststo any pa14y exceptas otherw ise provided herein.

          25.    Plaintiffs' and Class Counsel's U nopposed M otion for Final Approval of Class

   Settlem entand A pplication forService A ward,A ttorneys'Fees,and Expenses,and Incorporated

   M em orandum ofLaw is G R ANTE D .This case is CL O SED .
                                                                )                                    ..-.

          DONE andORDERED atM iami,Florida,this hh dayof                                 :2.                  20l9.
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                                                                                                        '''')
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                                                                          /Lht''             ..-
                                                                                             ,


                                              JosE E. ARTINEZ                                    /
                                              UNITED j'/ATESDISTRICTIJUDGE
                                                         I
                                                         t
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                                                         >.,
                                                           '

   Copies furnished to:
   M agistrate Judge Otazo-lkeyes
   CounselofRecord
